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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 WATTSTOCK LLC,                             §
                                            §
      Plaintiff,                            §
                                            §
 v.                                         §   Civil Action No. 3:23-CV-00270-N
                                            §
 ALTA POWER LLC, et al.,                    §
                                            §
      Defendants.                           §

                                        ORDER

         The above-referenced matter is transferred to the docket of the Honorable Judge

Brantley Starr, who has a related case. All future pleadings shall be filed under case

number 3:23-CV-0270-X.


         SIGNED February 8, 2023.




                                                          David C. Godbey
                                                   Chief United States District Judge




ORDER – SOLO PAGE
